              Case 1:16-cr-00776-VEC Document 419 Filed 12/28/17 Page 1 of 1




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   7KH+RQRUDEOH9DOHULH&DSURQL
   8QLWHG6WDWHV'LVWULFW&RXUW
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   'HDU-XGJH&DSURQL
          :HUHSUHVHQW'HIHQGDQW-RVHSK*HUDUGLLQWKHDERYHUHIHUHQFHGPDWWHU:HUHVSHFWIXOO\
   VXEPLWWKLVOHWWHURQEHKDOIRI0U*HUDUGLDQG0U6WHYHQ$LHOORWKH³6\UDFXVH'HIHQGDQWV´
   UHJDUGLQJ WKH 6\UDFXVH 'HIHQGDQW¶V MRLQW H[KLELW OLVW VXEPLWWHG WR WKH &RXUW YLD HPDLO RQ
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          :HKDGDOVRILOHGWKHVDPHH[KLELWOLVWYLD(&)+RZHYHUDVLQGLFDWHGLQRXU'HFHPEHU
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   GHVFULSWLRQVRIWKHGHIHQGDQWVDQGSRWHQWLDOZLWQHVVHV$VVXFKZHDUHUHTXHVWLQJSHUPLVVLRQWR
   UHPRYHWKHGUDIWH[KLELWOLVWIURPWKHGRFNHWDWWKLVWLPH,IJUDQWHGZHZLOOPDNHWKHUHTXLVLWH
   UHTXHVWWRWKH&RXUWFOHUNZLWKWKH&RXUW2UGHUWRUHPRYHWKHH[KLELWOLVW
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                                                      Request GRANTED. The Clerk is respectfully directed to
                                                      deactivate the hyperlink (but not to delete the docket entry) at
   (QFORVXUHV
                                                      Dkt. 411.
   FF   $OOFRXQVHORIUHFRUGYLDHPDLO          SO ORDERED.

                                                                                               12/28/2017


                                                      HON. VALERIE CAPRONI
                                                      UNITED STATES DISTRICT JUDGE
